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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

   DISTRICT OF COLUMBIA, STATE
   OF NEW YORK, STATE OF
   CALIFORNIA, STATE OF
   CONNECTICUT, STATE OF
   MARYLAND, COMMONWEALTH
   OF MASSACHUSETTS,
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   1(66(/21%(+$/)2)7+(                           &DVH No. FY
   3(23/( OF MICHIGAN, STATE OF
   MINNESOTA, STATE OF NEVADA,
   STATE OF NEW JERSEY, STATE
   OF OREGON, COMMONWEALTH
   OF PENNSYLVANIA, STATE OF
   RHODE ISLAND, STATE OF
   VERMONT, COMMONWEALTH OF
   VIRGINIA, and CITY OF NEW
   YORK,
                         Plaintiffs,

              v.

  U.S. DEPARTMENT OF
  AGRICULTURE; GEORGE ERVIN
  PERDUE III, in his official capacity as
  Secretary of the U.S. Department of
  Agriculture, and UNITED STATES
  OF AMERICA,
                         Defendants.

              DECLARATION OF CATHERINE BUHRIG IN SUPPORT OF
              3/$,17,))6¶MOTION FOR PRELIMINARY INJUNCTION

Pursuant to 28 U.S.C. § 1746, I, Catherine Buhrig, declare and state as follows:

       1.     I am over the age of eighteen (18) years, competent to testify to the matters
contained herein, and testify based on my personal knowledge and information.

       2.      I am the Director of the Bureau of Policy in the Office of Income Maintenance
(OIM) at the Pennsylvania Department of Human Services (PA DHS). I have held this position
since December 2014. I have worked for PA DHS for 17 years and have held numerous positions
within human services. I hold a B.S. in Psychology from the University of Pittsburgh, a Master’s
in Organization Development and Leadership with a concentration in public organizations and a
Master’s in Public Administration from Shippensburg University.



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